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 1

 2
                United States District Court
 3
                    District of Nevada
 4

 5
     Jeromy Oelker
 6
     525 E. Bonanza Rd.                       *IRREPARABLE INJURY*
 7
     Las Vegas, NV 89101
 8

 9   Jeromy Oelker                      )
10            Plaintiff     (pro se)    )
11                                      )
12   vs.                                )
13
                                        )
14
     Magistrate Victoria Olds;          )     No. 2:23-cv-01490
15
     Magistrate Paige Nolta;            )
     Prosecutor Zach Pall;              )     Motion to Vacate Judgment
16
     Attorney Thomas Clark;             )     F.R.C.P. 60(b)(4), (b)(3);
17
     Attorney Brennan Wright;           )     28 U.S.C. § 2283;
18
     Deputy Arnzen;                     )     28 U.S.C. § 1657(a)
19
     Sheriff Davis                      )
20   ________Defendants                 )     ref: CR31-20-0097
21

22   Federal Civil Rule 60(b) is one of many Congressional Powers that were
23   created to bring relief for 14th Amendment Violations. Under Virginia v.
24   Rives the court ruled 42 U.S.C. § 1983 and 28 U.S.C. § 1443 were enacted
25   to address State Overreach and Equal Protection Violations. To reduce
26   parallel litigation ―It is clear and well established law that a void order can
27   be challenged in any court.‖ Old Wayne Mutual L. Assoc. v.
28   McDonough, 204 U.S. 8, 27 S. Ct. 236 (1907).

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 1   I‟m not sure why Justice Albregts did not make a Younger Abstention
 2   Determination de novo when I filed a Motion to Enjoin on 31st October
 3   2023, (see docket #11). A district court‘s Younger abstention
 4   determination is reviewed de novo. See Bean v. Matteucci, 986 F.3d 1128,
 5   1132 (9th Cir. 2021).
 6

 7   Younger applies ―when: (1) there is an ongoing state judicial proceeding;
 8   (2) the proceeding implicates important state interests; (3) there is an
 9   adequate opportunity in the state proceedings to raise constitutional
10   challenges; and (4) the requested relief seeks to enjoin or has the practical
11   effect of enjoining the ongoing state judicial proceeding.‖ Page v.
12   King, 932 F.3d 898, 901–02 (9th Cir. 2019) (quoting Arevalo v.
13   Hennessy , 882 F.3d 763, 765 (9th Cir. 2018)).
14

15   For the Public sake, I wish for this court to Not invoke Younger and
16   make a Conclusion of Law on Civil Rule 60(b)(4) grounds as well.
17

18   ―Federal courts do not invoke it if there is a ‗showing of bad faith,
19   harassment, or some other extraordinary circumstance that would make
20   abstention inappropriate.‘‖ Arevalo, 882 F.3d at 765- 6 (quoting Middlesex
21   Cnty. Ethics Comm. v. Garden State Bar Ass'n , 457 U.S. 423, 435, 102
22   S.Ct. 2515, 73 L.Ed.2d 116 (1982).
23

24   First, Younger does not apply where a pretrial detainee presents ―a
25   colorable claim that a state prosecution would violate the Double Jeopardy
26   Clause.‖ Dominguez, 906 F.3d at 1131 n.5 (citing Mannes v.
27   Gillespie , 967 F.2d 1310, 1312 (9th Cir. 1992)).
28

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 1   ―The Fifth Amendment's protection against double jeopardy ... ‗is not
 2   against being twice punished, but against being twice put in
 3   jeopardy.‘‖ Mannes , 967 F.2d at 1312 (quoting United States v. Ball , 163
 4   U.S. 662, 669, 16 S.Ct. 1192, 41 L.Ed. 300 (1896)).
 5

 6   A post-trial ruling that the state violated the Double Jeopardy Clause would
 7   thus come too late. ―Because the accused already has been subjected to the
 8   ordeal of trial, overturning such a conviction is not a complete remedy for
 9   the double jeopardy violation.‖ Id. at 1313. And ―because full vindication
10   of the right necessarily requires intervention before trial,‖ Younger does
11   not apply. Id. at 1312.
12

13   Excess of Jurisdiction and ―Bad Faith‖ go hand in hand. And so without
14   any Criminal Information, concurrently my Double Jeopardy, Speedy Trial,
15   and Bail Hearing rights were violated. (see Exhibit X-3, X-5, and X-10).
16

17   The United States Supreme Court recognized an irreparable harm
18   exception to Younger. See World Famous Drinking Emporium, Inc. v.
19   City of Tempe , 820 F.2d 1079, 1082 (9th Cir. 1987) (explaining
20   that Younger does not apply ―under extraordinary circumstances where the
21   danger of irreparable loss is both great and immediate‖). “It is well
22   established that the deprivation of constitutional rights unquestionably
23   constitutes irreparable injury.” Melendres v. Arpaio, 695 F.3d 990, 1002
24   (9th Cir. 2012).
25

26   Second, the 9th Circuit Court has held that Younger does not apply where a
27   petitioner raised a due process challenge to his pretrial detention. Bean v.
28   Matteucci, 986 F.3d 1128, 1132 (9th Cir. 2021). In Page v. King, the court
     held that abstention was inappropriate for a challenge to pretrial detention
                                 Page 3 of 10
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 1   on the basis of a stale and scientifically invalid probable cause
 2   determination. Id. at 904. As the panel explained, if the petitioner was
 3   correct that his pretrial rights were violated, ―then regardless of the
 4   outcome at trial, a post-trial adjudication of his claim would not fully
 5   vindicate his right to a current and proper pretrial probable cause
 6   determination.‖ Id.
 7

 8   Similarly, in Arevalo, the court held that Younger abstention did not apply
 9   to a pretrial detainee's claim that he had been incarcerated for over six
10   months without a constitutionally adequate bail hearing. 882 F.3d at 766–
11   67. As we explained, ―deprivation of physical liberty by detention
12   constitutes irreparable harm,‖ and abstention was inappropriate where that
13   right could not fully be vindicated after trial. Id. at 767.
14

15   My cause of action is in regards to Judicial Usurpation and Prosecutorial
16   Overreach. This court has ruled 60(b) Motions were only warranted for
17   Judicial Acts in ―Excess of Jurisdiction‖, or the right to be heard was
18   denied as a recorded fact. (see Pre-Trial Record)
19

20   On May 29th, 2020 when Magistrate Olds and Prosecutor Pall conspired to
21   deny me equal protection of the laws, they concurrently engaged in myriad
22   procedural violations regarding a Criminal Prosecution in violation of the
23   law of the land of the State of Idaho, and the Supreme law of the land as a
24   member of the Union. As matter of fact they violate every Idaho Criminal
25   Rule of Procedure, additional Idaho statutes, and Fundamental
26   Constitutional Amendments, both State and Federal. And of course all that
27   subjects them to criminal ―Obstruction of Justice.‖
28

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 1   Regarding (Exhibit X-1(b)) the probable cause affidavit signed by Deputy
 2   Arnzen was only one page and did not state any elements of the alleged
 3   offenses. It was also not stamped as received by the Clerk of Court. Exhibit
 4   X-1 was provided to the Idaho Federal District Court in July 2020. Darla
 5   Wilkins declared she only had the one page in her record. (Exhibit X-5)
 6   If you notice Exhibit X-1(a), it is a fabrication that was created later after
 7   the court found out I was contesting the Lack of Probable Cause and no
 8   Criminal Information.
 9

10   Good thing Darla Wilkins certified the record first. Within the hearing
11   transcript typed by Darla Wilkins, you will notice Magistrate Olds never
12   abides by Idaho Criminal Rule 3, 4, and 10. It is fact recorded Prosecutor
13   Pall never filed a Criminal ―Information‖ or sworn complaint. (Exhibit X-
14   5). It is also fact recorded Exhibit X-1(a) is a forgery, in clear violation of
15   Idaho Criminal Rule 49(d).
16

17   Without a Probable Cause Hearing or any Criminal Information filed,
18   Prosecutor Pall also violates the Notice Clause of the 6 th amendment, and
19   Idaho statute 19-1302 is violated: Filing and endorsement of information.
20   “All informations shall be filed in the court having jurisdiction of the
21   offense specified therein by the prosecuting attorney as informant to
22   which he shall subscribe his name.”
23

24   Idaho Statute 19-102. PROSECUTION BY INDICTMENT OR
25   INFORMATION — EXCEPTIONS. Every public offense must be
26   prosecuted by indictment, or information. (see Exhibit X-10)
27

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 1   So without a Probable Cause Hearing or any Criminal Information signed
 2   by the Prosecution, not only does Magistrate Olds and Prosecutor Pall not
 3   acquire Personnel Jurisdiction, or subject matter jurisdiction, they never
 4   acquire ―Plenary Power‖ either. Without adherence to the Criminal Rules
 5   of Procedure and the Idaho statutes protecting criminal defendants of
 6   Criminal Prosecutions, the Lewis County Court lost jurisdiction in the first
 7   instant. Without Fairness the case is void by Fundamental Infirmity
 8   offending traditional notions of fair play and substantial justice.
 9

10   ―Denying defendants relief for clear violations of their procedural
11   rights reduces the law to pretend-rules.‖ United States v. Mechanik, 475
12   U.S. 66 (1986); citing United States v. Borello, 766 F.2d 46, 58 (CA2
13   1985); quoting United States v. Antonelli Fireworks Co., 155 F.2d 631,
14   661 (CA2) (Frank, J., dissenting). Adjudications require both the
15   prosecuting party and the prosecuted party to follow some defined
16   procedural process that serves to help check prosecutorial intimidation or
17   overreach.
18

19   ―The rights of access to the courts is not limited to protecting rights of
20   access to justice of only those individuals who will ultimately prevail in
21   judicial process but it reaches conspiracy, misconduct and unjustified acts
22   and actions which impedes the due course of justice with the intent to
23   deny the individual equal protection of the law.‖ See Bell v. City of
24   Milwaukee 746 F.2d 1205 (7th Cir. 1984); Also See McTigue, 60 F.3d
25   381, 382.
26

27   When the Lewis County Court violated my 6th Amendment right to the
28   Notice Clause they Concurrently violated my 5th Amendment right to

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 1   Double Jeopardy protection, my 4th Amendment right to not be seized
 2   without probable cause, my 8th Amendment right to be protected from
 3   Excessive Bail, and my 14th Amendment right to have procedural due
 4   process, protection of my Fundamental Bill of Rights Amendments, and
 5   Equal Protection under the Idaho State law, to include Speedy Trial right.
 6

 7   “A judgment is „void‟ where a court „usurps a power without
 8   jurisdiction.‟” Hoffler v. Bezio, 726 F.3d 144, 156 (2d Cir. 2013). Many
 9   state courts have also echoed the traditional understanding, recognizing that
10   jurisdictional defects ―Void‖ judgments. See, e.g., Commonwealth v.
11   Martin, 476 Mass. 72, 76 (Mass. 2016); Sanders v. Frakes, 295 Neb. 374,
12   380 (Neb. 2016); People v. Castleberry, 398 Ill. Dec. 22, 25 (Ill. 2015);
13   State v. Oerly, 446 S.W.3d 304, 307 (Mo. Ct. App. 2014); State v. Cramer,
14   192 Ariz. 150, 153–54 (Ariz Ct. App. 1998); Dike v. Dike, 75 Wash. 2d 1,
15   8 (Wash. 1968); Haynes v. Robbins, 158 Me. 17, 23–24 (Me. 1962).
16

17   Rule 60(b)(4) allows a party to seek relief from a ―Void‖ judgment only in
18   the rare instance where a judgment is premised either on a certain type of
19   jurisdictional error or on a violation of due process that deprives a party
20   of notice or the opportunity to be heard. United Student Aid Funds, Inc. v.
21   Espinosa, 559 U.S. 260, 271 (2010).
22

23   In this country the provisions in our Bills of Rights are limitations
24   upon all departments of government. ―Sense of fair-play shocked is not
25   due process.‖ (Congress Barred) Galvan v. Press, 347 U.S. 522, 74 S.Ct.
26   737.
27

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 1   The prohibition against depriving the citizen or subject of his life, liberty,
 2   or property without due process of law is not new in the constitutional
 3   history of the English race. It is not new in the constitutional history of this
 4   country, and it was not new in the Constitution of the United States when it
 5   became a part of the Fourteenth Amendment, in the year 1866. Id at 101
 6   Davidson v. New Orleans, 96 U.S. 97 (1878).
 7

 8   Prosecution by information was ―an ancient proceeding at common law,
 9   which might include every case of an offense of less grade than a felony,
10   except misprision of treason ... id at 538, Hurtado v. California, 110 U.S.
11   516, 532 (1884). The words, ―due process of law‖ were undoubtedly
12   intended to convey the same meaning as the words ―by the law of the
13   land,‖ in Magna Charta. Lord Coke, in his commentary on those words (2
14   Inst. 50), says they mean due process of law.
15

16   The Constitutions which had been adopted by the several States before the
17   formation of the federal Constitution, following the language of the great
18   charter more closely, generally contained the words, ―but by the judgment
19   of his peers, or the law of the land.‖ Murray's Lessee, 59 U.S. at 276. As in
20   all State Legislature. Equal Civil Rights. ―The Union of these States is
21   perpetual‖ under the Constitution. The United States do not form a
22   compact, but are a ―country‖ bound together by ―national fabric.‖
23   Abraham Lincoln 1862. The union that Lincoln hoped to save was an
24   agreement between the sovereign people of the United States, not the states
25   themselves. And so, the president argued, the people of a particular state
26   could not break away of their own volition.
27

28   ―If denial of a Speedy Trial Act claim may only be reviewed on appeal
     from a conviction, then a remedy is not available to those who are
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 1   ultimately acquitted (but who nonetheless suffer all the disadvantages
 2   which concerned Congress), nor to those who, perhaps worn down by a
 3   lengthy pre-trial delay, ultimately plead guilty.‖ United States v.
 4   Mehrmanesh 652 F.2d 766 (9th Cir. 1980). The Court also held ―the right
 5   to a speedy trial is offended by the delay before trial and not by the trial
 6   itself.‖ This court has a duty to secure this right by providing relief now.
 7

 8   ―Rule 60 is to be liberally construed in order that judgments will reflect the
 9   true merits of a case.‖ 11 Wright & Miller, Federal Practice & Procedure §
10   2582 (3d ed. 2022) (emphasis added).
11

12   A judgment rendered in violation of due process is void in the
13   rendering State and is not entitled to full faith and credit
14   elsewhere. Pennoyer v. Neff, 95 U. S. 714, 95 U. S. 732-733 (1878).
15

16   ―The Due Process Clause protects an individual‘s right to be deprived of
17   life, liberty, or property only by the exercise of lawful power.‖ J.
18   McIntyre Mach., Ltd. v. Nicastro, 564 U.S. 873, 879 (2011) (plurality
19   opinion). The district court‘s allocation of the burden of proof is a
20   conclusion of law reviewed de novo. See Lopez v. Catalina Channel
21   Express, Inc., 974 F.3d 1030, 1033 (9th Cir. 2020).
22

23   On May 29th, 2020 Lewis County Court was acting in ―Bad Faith‖ and
24   ―Usurped‖ their authority/ ―excess of jurisdiction‖, intentionally,
25   maliciously, in effect ―Goading‖ me to move for a mistrial. It is very
26   blatant they have no Honor towards our nations‘ and the State of Idaho‘s
27   Covenant, ―Due Process.‖
28

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 1   ―It is well established that the deprivation of constitutional rights
 2   unquestionably constitutes irreparable injury.‖ Melendres v. Arpaio, 695
 3   F.3d 990, 1002 (9th Cir. 2012). Duty to Justice is a Slippery Slope.
 4

 5   Please Vacate ―Void‖ case CR31-20-0097. I declare under penalty of
 6   perjury that the foregoing is true and correct. Executed on this 29th day of
 7   January 2024 at Las Vegas, Nevada.
 8

 9                                    ________________________
10                                    Jeromy Oelker (pro se)
11

12
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13

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  United States District Court
      District of Nevada
Jeromy Oelker
525 E. Bonanza Rd.
Las Vegas, NV 89101
__________________________
Jeromy Oelker (pro se)      )           No. _2:23-CV-01490___
Petitioner                  )           Documents in Support of
                            )           Civil Rule 60(b)(4)
vs.                         )           Motion to Vacate Judgment;
                            )           Declaration of Exhibits;
Magistrate Victoria Olds    )           Table of Exhibits
Magistrate Paige Nolta      )
Prosecutor Zach Pall        )
Attorney Thomas Clark       )
Attorney Brennan Wright     )
Deputy Arnzen               )
Sheriff Davis               )
Lewis County Court, Idaho   )
Respondents________________ )

All Exhibits are Official Court Records. Recently Clerk for the Court of
Lewis County Idaho, Juanita Kirkland provided Exhibit X-1(a) and X-
1(c). Exhibits X-1(b), X-3, X-4, and X-5 were provided by Attorney
Thomas Clark’s secretary Darla Wilkins. Exhibit X-10 I created. And
Exhibit X-11 is from the Idaho portal Case look-up feature. Exhibit L is
a copy of the recent emails sent by Juanita Kirkland.

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I declare under the penalty of perjury the Exhibits are Authentic on this
29th day January 2024.
                                        ________________________
                                        Jeromy Oelker (pro se)

                            Table of Exhibits

X-1(a)-- Counterfeit Probable Cause Affidavit 2020             (Attached)
X-1(b)-- Original Probable Cause Affidavit 2020                (Attached)
X-1(c)-- Ante Dated Probable Cause Order                       (Attached)
X-3-- Hearing Transcript (05-29- 2020)                         (Attached)
X-4-- Citation 2020                                            (Attached)
X-5-- Darla Wilkin’s Email (10-13-2020)                        (Attached)
X-10-- Idaho Rules and Statutes                                (Attached)
X-11-- Lewis County 2020 Docket                                (Attached)
L-- Clerk Kirkland Email                                       (Attached)


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     Exhibit X-1(a)
Ante-Dated Probable Cause Affidavit never received by Darla Wilkins.
Notice there is no Clerk Stamp as Original in violation of Idaho
Criminal Rule 49(d).
When you compare it to Exhibit X-1(b), you will conclude there is no
case number, or facsimile time stamp. Exhibit X-1(b) was filed with the
Idaho District Court in July 2020 under SEAL.
You will also conclude there is no page number on Exhibit X-1(b).
Furthermore the Probable Cause Affidavit never included a typed
statement. Darla Wilkins only received 1 page (Exhibit X-1(b)).
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                                                                           Filed: 05/29/2020 09:53:04
                                                                           Second Judicial District, Lewis County
                                                                           Alesia Winner, Clerk of the Court
                                                                           By: Deputy Clerk - Smith, Monica




      IN THE DISTRICT COURT OF THE SECOND JUDICIAL DISTRICT OF THE STATE OF
                          IDAHO, IN AND FOR THE COUNTY OF LEWIS

STATE OF IDAHO,
                                                         COURT CASE # CR31-20-0097

                            Plaintiff,                   DEPT CITE/CASE # 2020-00392
          vs.

                                                         AFFIDAVIT SUPPORTING INITIAL
                                                         DETERMINATION OF PROBABLE
                       Jeromv J. Oelker                  CAUSE PURSUANT TO I.C.R.5(C)
                            Defendant.


STATE OF IDAHO                       )

                                     )    ss.

County of Lewis                      )



          Your afﬁant, the undersigned police ofﬁcer, being duly sworn, deposes and

says under oath as follows:

          1.    Your afﬁant is a duly qualiﬁed peace ofﬁcer serving with the Lewis County
Sheriff’s Ofﬁce.

          2.    There is probable cause to believe that the crimes 0f Domestic Battegy and

Resisting and Obstructing an Ofﬁcer, Idaho Code Sections I.C. 18-918 (3) 1b) and

I.C.   18-705, has been committed and that the above-named defendant has committed

it.   The defendant has been arrested, and your afﬁant asks that the Court determine

whether probable cause exists.

          The facts upon which afﬁant relies in believing there is probable cause for said

stop and/or arrest are set out in the following narrative and any reports and documents

attached hereto.


I declare      under penalty of perjury pursuant to the law of the State of Idaho that the
foregoing is true and correct.


Dated:    5‘2 3 "        20               Signed:        ‘g
                                                 Afﬁit/PEE Ofﬁcer
AFFIDAVIT SUPPORTING INITIAL
DETERMINATION OF PROBABLE
CAUSE PURSUANT TO I.C.R.5(C)
    Case 2:23-cv-01490-APG-DJA Document 32 Filed 01/30/24 Page 15 of 68

    Lewis County Sheriff’s Ofﬁce
    Report #2000392

05—28-2020


Chief Deputy Philip Amzen


Location: 61 1 Florence Ave, Craigmont ID County of Lewis


Domestic Battery: 18-91 8 (3)(b)
Resisting and obstructing an Ofﬁcer: 18-705


Reporting Party/Victim: Vivian Baxter D.O.B 01-10-1949


Suspect: Jeremy] Oelker      D.O.B 05-04-1980




On the 28‘“ of May 2020 at approximately 1034 hours, I Chief Deputy Philip Amzen. a
certiﬁed Deputy with the Lewis County Sheriff‘s Ofﬁce. was informed of a domestic in
progress. I was advised by the Lewis County dispatch the address would be 6] l Florence
in the City of Craigmont, County of Lewis.



I   recognized the address as an address that I have responded to in the past for domestic
investigations, I contacted the Lewis County Dispatch Via county issue cell phone to
gather more information. I was advised that Vivian Baxter and Jeromey Oelker are
having a domestic, I advised Lewis County Dispatch that I would be in route. While
responding dispatch was keeping me informed with information, I was advised that she
had gotten another 911 call that was dropped but she could her screaming in the
background, dispatch advised that she was paging out medical and I had other units
responding. I then got another radio communication from dispatch she got another 9] 1
call and advised that she could still hear screaming. I advised Dispatch that I would be

responding direct and not waiting for back up.


As   was arriving on scene at approximately 1049 hours, Dispatch advised that she lost
      I


contact with her. she heard a scream then the phone hung up. at that time I believed
Vivian to be in life threatening danger. As was approaching the house. I could hear
                                               I


screams coming from what appeared to be an upstairs window on the North-West part of
the residence, I began to knock on the door and announce myself, “LEWIS COUNTY
SHERIFF’S OFFICE.” I knocked and announced again, at that time I was getting ready
to kick in the door, I feared that with Vivian’s age and Jeromy Oelkers size that she could
be getting badly hurt.


The door opened rapidly and Vivian who I recognized came running out the front door,         I

                                                                  “
then Heard Jeromy, who I recognized from previous contacts state Im here, we are 0k.”
Jeromy states that she is having an episode. advise Jeromy to relax due to the fact that
                                                   I


he seemed to be upset about something. ask Jeromy t0 do me a favor and to tum around,
                                           I


Iwanted to make sure for the safety of everyone on scene that Jeromy did not have any
weapons, advise Jeromy that he is not under arrest and that I wanted to check him for
            I




                                                                                       Page      |
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Lewis County Sheriff’s Ofﬁce
Repon #2000392

weapons. Jeromy instantly puts his hands in his pockets and pulls out two sets 0f keys
and a cell phone and drops it on the ground.       I   gained control of Jeromy and he turned and
faced the wall. I was attempting to explain t0 Jeromy what I was doing and what was
going 0n. l was having Jeromy place his arms behind his back and began to resist. I
advised Jeromy to “stop. "Jeromy started to turn and try t0 pull his hands away from me,
lcontinued to have control over Jeromy and he complied with going in t0 wrist restraints.
While I was getting Jeromy in to restraints he kept telling Vivian that it wasn’t fair,
While trying place Jeromy into restraints I had a malfunction with my wrist restraint and
Jeromy complied and kept his hands behind his back.
As was getting Jeromy into a pair of wrist restraint that worked, he began to yell at the
     I


neighbors. Vivian then walked around the comer and I had lost sight of her, this
concerned me because I was not able t0 make sure that she was not injured. Jeromy
called for Vivian asking for her t0 come back. I had Jeromy sit 0n the front steps of the
house so that I could continue my investigation, Jeromy became very loud and started
yelling, I advised Jeromy to stop yelling or I was going to put him in          my car, Jeromy
continued to yell. I advise Jeromy to get up. Jeromy stiffened his legs not complying with
my order to stand up, Jeromy kept calling out for Vivian and was not complying with my
commands to stand up. I lifted Jeromy offof the stairs and he continues t0 resist me by
buckling his legs, we both fell t0 the ground. Jeromy continued t0 resist, placed myI


hand on his head holding him to the ground so he could not get up, I called dispatch Via
radio and advised to have my back up expedite. As me and Jeromy fell to the ground my
left leg had gotten pinned under his body. The only             way I could keep Jeromy to the
Ground was t0 hold him down by his head. got my left leg out from under Jeromy and
                                               l


he continued to scream and resist, I ask Jeromy multiple times to stop, Jeromy would go
through times of anger then he would be calm and compliant.
Jeromy started to scream for someone to get the President, Jeromy stated that Trump
knows him. Jeromy again began to scream at the neighbors, Jeromy repeatedly kept
screaming about how Vivian was doing drugs.


Jeromy continued to scream about money and other issues, Jeromy then attempted resist
the wrist restraints, I advised him to stop and he continued to resist, I again advised him
to stop resisting. for approximately 10 minutes had t0 keep Jeromy restrained on the
                                                        I



ground while waiting for back up, I got Jeromy calmed down enough for me to sit him up
and give him a break from being on his stomach.
As Jeromy was being placed in a seated position. tribal police Ofﬁcer Auberton arrived
on scene. I advised him to have medical come 0n scene to have Vivian and Jeromy check
out. While was talking to the Tribal Ofﬁcer, Jeromy continued to yell at Vivian.
             I


I had Ofﬁce Auberton take control of Jeromy so can get medical attention for Vivian
                                                            I


and Jeromy.

Ithen made contact with Vivian, Vivian was sitting 0n the east facing side of the house,
Vivian appeared to be visually upset, I asked Vivian to come talked to me out of the sun,
as Vivian was walking up to me Jeromy yelled that she didn’t need t0 talk to me.
Jeromy continued to yell at Vivian and I could tell that it was upsetting her.
I asked Vivian how she was doing and she advised that she needed to take
                                                                              her morning
medicines.




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I   asked Vivian if she would like to go inside and talk where we can’t hear him yell and
she shook her head yes. As I was talking to Vivian other Deputies and Ofﬁcers that had
responded on scene and assisted taking Jeromy and placing him into the back 0f a patrol
unit. Jeromy continued t0 yell at Vivian while l was escorting her to the house.

As was starting to talk to Vivian about what had occurred. E.M.S walked into the house
      I


t0 check Vivian, the EMT’S began to ask questions. Vivian stated that he (Jeromy)
pushed me down 0n the kitchen ﬂoor again. Vivian stated “this is something that is not
new”. Vivian advised that Jeromy was throwing her thing around and was throwing
things down the hallway. Vivian advised the EMT‘S that she didn’t want to get hurt
anymore. While Vivian was talking t0 EMT‘S she began t0 become more emotional about
what had happened. The EMT’S asked if he had hit her, Vivian stated that he had just
grabbed her. Vivian made a motion with her left had grabbing her right forearm
indicating what Jeromy had done. While the EMT's were talking t0 Vivian, Vivian
advised that she has been having domestic issue with Jeromy since he has gotten out 0f
Jail, Vivian advised that she has had t0 threaten to call the Sheriff several times.

One of the EMT’s asked Vivian, is the only place he grabbed you 0n your arms and she
shook her head yes.


I   asked Vivian if Jeromy pushed her down in the hallway and she stated that it was in the
kitchen. I asked Vivian in hit her with a ﬁst or slapped her and she shook her head no.
Vivian advised that he grabbed her by the arm and stated that she was already getting a
red mark. l did observe a small red in color mark on Vivian’s right forearm. I asked
Vivian if she need t0 g0 to the hospital, Vivian advised that she didn’t think that she
needed to, she stated “I thinks that i got him before he started hurting me”.
I   ask Vivian if he took her down with one arm 0r two and she stated two.


I   talk to Jeromy, I advised him that I’m going t0 have   EMS check him out,   I   observed
that Jeromy had abrasions 0n his face from the altercation with myself.
I   advise Jeromy that he is not free to g0 and that I am conducting an investigation.
Jeromy stated that he was trying to ﬁx the dry wall and that Vivian has Lyme disease and
she can’t stand sound and she panicked.
Jeromy stated that she is on a lot of medication and she says a lot of thing and you don’t
know what is serious.
I asked Jeromy what was the screaming when I got 0n scene and he stated that is was


probably him yelling, I advised that I could hear her yelling and Jeromy stated that he
doesn‘t remember. Jeromy was then given a drink of water, I asked Jeromy to talk to me
and not talk t0 everyone else 0n scene.
I stated to Jeromy that we got a 911 call and we could hear screaming in the back ground,


Jeromy stated that he was cleaning, I asked how did Vivian get knocked to the ground, he
stated that he never saw her go t0 the ground. Jeromy stated that he was moving card
board and she had un-diagnosed Lyme disease and she can’t stand sound,
Jeromy stated that she has Lyme disease and she panicked and that is all he knows.
l asked if there was any hitting, punching. Jeromy stated that there was not hitting and


nobody knocked anybody over.




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I   asked Jeromy if she had fallen to the ground 0r tripped on something. Jeromy stated that
she was 0n ground in the bed room talking on the phone. I asked Jeromy how she got 0n
the ground and he stated she must have walked, Jeromy stated that he heard her yelling
and went into see what she was doing.


Iwent back inside the residence to check on Vivian again and make sure that she still
didn’t need an ambulance. I ask Vivian to explain t0 me again that had happened again,
Vivian Explain that Jeromy wanted to do some work on the inside of the house and she
wanted him to do some outside work. Vivian continues to talk about issues that she is
having with Jeromy and packing boxes and other household issues she is having with
him. I get Vivian redirected t0 what had happened today.


I   advised that when I got on scene that I could hear some screaming, Vivian stated that
she was asking him t0 stop, I asked Vivian what he was doing and she stated that he was
taking over the phone. Vivian stated that she tried to call twice and he took the phone
from her. I asked if he took the phone and tried to talk to dispatch. Vivian stated yes. I
asked Vivian is she is the one that hung the phone up and she stated that she hung the
phone up and once Jeromy talk t0 whoever.
I   then talk t0 Vivian about how she got to the ground, Vivian stated that it was before she
called. Vivian stated that Jeromy was moving her stuff out, Vivian stated that she was
going t0 the kitchen and that if Jeromy get t0 close t0 her he will grab her. I ask if she
was trying t0 get away from him and she shook her head yes.
I asked Vivian if the argument was getting heated in the living room and that is why she

was trying to go to the kitchen. Vivian shook her head yes. l asked Vivian if it got
physical in the living room and she stated that she tried to stay back away so he can’t
grab her. Vivian stated that about a month ago that he grabbed her and ripped her
clothing off.
I   asked Vivian what happened when he followed her into the kitchen, Vivian stated that
she told him to leave and that she called the Sheriff.
I clariﬁed with Vivian on when she went t0 the ground, because I was un-clear as to

when she was taken t0 the ground, Vivian stated she went to the ground in the kitchen
when Jeromy took her t0 the ground.
Vivian stated that Jeromy has a way of being gentile while putting a person t0 the ground
and then you are at his mercy.
I asked Vivian if she was pinned to the ground and she stated that she couldn’t get up.

Vivian stated that there is no way she can physically move once he puts her on the
ground.
I   then checked to see if Vivian had any marks or bruising, I couldn’t see any new mark
other than the same mark that I observed on her right arm, I then had a female    EMT come
and check Vivian’s back for any marks or bruising. the EMT      advised that she had n0
visible marks.


Vivian advised that she had perjured herself on the stand, I advised her of my concern
about that and I conﬁrmed that she was being honest, I believe that Vivian was telling the
truth.




                                                                                         Page 4
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Lewis County Sheriff‘s Ofﬁce
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Jeromy asked me t0 recover his wallet and two credit cards, l followed Vivian in the
basement, the basement had Jeromy’s belongings in it, Vivian was not able to recover the
wallet, two credit cards were located by Vivian, and the credit cards were taken to the
Lewis County Jail and placed into Jeremy’s property

I advised Jeromy that he was being placed under arrest for domestic battery and resisting


and obstructing an Ofﬁcer. Jeromy was transported to the Lewis County Jail by the Nez
Perce Tribal Police. Jeromy was Cited for Domestic Battery Idaho code 18-91 8(3)(b) and
resisting and obstructing an Ofﬁcer Idaho code 18-705.   A copy 0f the citation was placed
in Jeromy’s property in the Lewis County Jail.




Nothi g   uther.




                                                          —
       eputy Philip Amzen                                           05-28-2020




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                  Service and Filing of Papers.
       Published on Supreme Court (https://isc.idaho.gov)




  /*php if ($picture) { print $picture; }*/?>

I.C.R. 49. Service and Filing of Papers.

Idaho Criminal Rule 49. Service and Filing of Papers




(a) Service, When Required. Written motions, other than those which may be properly heard ex
parte, written notices, and similar papers must be served on each party and filed within the time and in
the manner provided by the Idaho Rules of Civil Procedure.


(b) Service by Electronic Means. Service may be made on an attorney for a party by transmittal of a
copy of the document to the office of the attorney by electronic means, including by email or facsimile.
This rule does not require an attorney to have a facsimile machine.


(c) Notice of Orders. Immediately on the entry of an appealable order or judgment the clerk of the
court must serve a copy of it, with the clerk's filing stamp indicating the date of filing, on the
prosecuting attorney and on each defendant or the attorney for the defendant. Service may be by mail
or personal delivery, or to an attorney by electronic means. Mailing or personal delivery, or service by
electronic means on an attorney, is sufficient notice for all purposes under these rules. Lack of notice of
entry of an appealable order or judgment does not affect the time to appeal or to file a post-trial motion
within the time allowed, except where there is no showing of mailing or delivery by the clerk in the court
records and the party affected thereby had no actual notice.


(d) Filing. Documents required to be served must be filed with the court in the manner provided for
civil actions in the Idaho Rules of Civil Procedure. Any document, except an information or complaint, a
search warrant, a warrant of arrest, or a return on a warrant or service of a search warrant, or any
document filed as proof of incarceration of a party to the action, may be transmitted to the court for
filing by a facsimile machine process. The clerk must file stamp the facsimile copy as an original and the
signatures on the facsimile copy will constitute the required signature of a party or the attorney. Filings
may be made only during the normal working hours of the clerk and only if there is a facsimile machine
in the offices of the filing clerk of the court. Provided, documents over 10 pages in length may not be
filed by facsimile machine. Following the service of a subpoena, the person serving the subpoena may
make return of it to the person who requested the subpoena rather than making return with the court.


(e) Additional Service on Out-of-County Judge. If the office of a presiding judge is outside the
county in which an action is pending, each party to the action must, when reasonably possible, lodge
with the presiding judge, at least five days before the trial or hearing, at his or her office, all briefs and
copies of motions, notices, orders to show cause, proposed instructions, or any other pleadings or
documents that are reasonably necessary to advise the court of the nature of any proceeding or hearing
to be held in the action. This requirement is in addition to the lodging or filing of the originals with the
court of record and the service of copies on the parties if required by these rules.




(Adopted February 22, 2017, effective July 1, 2017.)

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     Exhibit X-1(b)
Darla Wilkins only received 1 page.
Exhibit X-1(a) was Ante-Dated and never received by Darla Wilkins.
(see Exhibit X-5)
Notice there is no Clerk Stamp as Original in violation of Idaho
Criminal Rule 49(d).
When you compare it to Exhibit X-1(b), you will conclude there is no
case number, or facsimile time stamp. Exhibit X-1(b) was filed with the
Idaho District Court in July 2020 under SEAL.
You will also conclude there is no page number on Exhibit X-1(b).
Furthermore the Probable Cause Affidavit never included a typed
statement.
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     Exhibit X-1(c)
Darla Wilkins never received nor provided me with the Probable Cause
Order.
Notice there is no Clerk Stamp as Original in violation of Idaho
Criminal Rule 49(d).
Also notice the Clerk photo-shopped Magistrate Old’s signature. Why
would it have been filed with a Facsimile machine?
Also notice the Facsimile time stamp is the same font as the Clerks
typing.
What happened was Prosecutor Pall fabricated it, and inserted it back
into the record. But was most likely unable to get the Clerk for the Court
to stamp it, and overlooked Idaho Criminal Rule 49(d).
You can also see Ante-dating on other Exhibits filed into this case.
           Case 2:23-cv-01490-APG-DJA Document 32 Filed 01/30/24   Page 24 of11:36:16
                                                            Filed: 05/29/2020 68
                                                                                                  Second Judicial District, Lewis County
                                                                                                  Alesia Winner, Clerk of the Court
                                                                                                  By: Deputy Clerk - Smith, Monica

                       IN THE DISTRICT COURT OF THE SECOND JUDICIAL DISTRICT OF
                           THE STATE OF IDAHO, IN AND FOR THE COUNTY OF LEWIS


STATE OF IDAHO                                                        Case No. CR31-20-0097
         Plaintiff,

                                                                      Probable Cause Order
v.



JEROMY J OELKER
3001 North South Hwy#1 18
Lewiston, ID 83501                                                    Idaho Criminal Rule 4
   Defendant.

Upon review of the information provided under oath alleging the Defendant committed the
offense(s) of:

 Count                 Statute                            Charqe Description
     1                 |18—91 8(3)(b) {M}                 Battery-Domestic Violence Without Traumatic Injury
                                                          Against a Household Member
 2                     |18—705                            Arrests & Seizures-Resisting or Obstructing Officers


         D The Court does not                  find probable cause to support the charges listed above, the

         Defendant is ordered released immediately, and no warrant shall be issued.


         D
         X The Court finds probable cause                       to believe the Defendant committed the crime(s) shown

         above:

                      D The Defendant        be released on recognizance.
                                                  shall

                      D The Defendant        be held
                                                  shall    of       the amount of $_.
                                                                    in lieu    bail in


                      D           be set
                         Bail shall        the amount
                                                   in    the     schedule. |.M.C.R.
                                                                      in      bail                     13.

                      D The following conditions are placed on the Defendant’s release on recognizance
                      or on bail:   .   [conditions of release]

                  D Bail shall be determined at arraignment.
                  X
                      D A warrant of arrest      be issued setting
                                                        shall                        bail in the amount of   $—
                      D A summons         be issued.
                                               shall



At arraignment, the Court may impose such reasonable terms, conditions and prohibitions of

release as the court finds necessary in the exercise of its discretion. |.C.R. 46(e)(1 ).



                  Signed: 5/29/2020 11:05 AM
Dated:
                                                                     Judge No Judicial Officer Assigned




Probable Cause Order (M10) (rev. 07/22/2019)                                                                       Page 1 of 2
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                                                  CERTIFICATE OF SERVICE

|   certify that on this date,        |    served a copy of the attached to:

    Zachary Aaron Pall                                zpal|@lewisc0untyid.org          [X] By E-mail


                                                                  Alesia Winner
                                                                  Clerk of the Court


Dated:        Signed: 5/29/2020 11:36 AM                          By:
                                                                        Deputy Clerk




Probable Cause Order (M10) (rev. 07/22/2019)                                                  Page 2 of 2
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           Exhibit X-3
The Arraignment hearing transcript was redacted in violation of
I.R.E.F.S. 15. Privacy Protections for Filings Made with the Court.
(d)(2) File the redacted document together with an un-redacted copy of
the document. The un-redacted copy must be clearly identified as an un-
redacted copy filed pursuant to this rule. The un-redacted copy is exempt
from public disclosure pursuant to Idaho Court Administrative Rule 32;
however, courts will share the un-redacted copy with other government
agencies as required or allowed by law without court order or
application for purposes of the business of those agencies.
Notice Exhibit X-5 I contested the Hearing Audio redaction and Darla
Wilkins stated she received it from the Prosecution rather than the court
reporter.
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                              TRANSCRIPT OF ARRAIGNMENT
                                State of Idaho v. Jeromy Oelker

Oelker Jeromy Oelker


Oelker That case can be dropped right now. He clearly tripped me over. My shoes are back there.
       I’d like them to show you my shoes.

Judge We are on the record CR21-97, State of Idaho v. Jeromy Oelker. We have the public
      defender by video, Brennan Wright. I realize Mr. Oelker you filled out your Notification of
      Rights and that you are going to retain private counsel.

Oelker I’m going to represent myself today.

Judge We also have Zachary Pall on behalf of the State. I’ll just leave Mr. Wright on there just in
      case you have any questions or would like to talk to him, but you are free to represent
      yourself today. While I go over you Notification of Rights, and we go over the standard
      things that I go over at an initial appearance. Just goes over form and asks if he has
      questions about the form.

Oelker I mean I don’t really know. I would have to have a law book to figure that one out.

Judge Okay, um, but you have read those rights and you wrote your initial, you initialed

Oelker Well she told me I had to or we couldn’t have a hearing so I did what she was telling me to
       do.

Judge Okay. Um, but your certainly, this is not the first time you’ve been in Court and you’ve
      acknowledged knowing your rights before.

Oelker Again, I did for the same reason then.

Judge Uh-huh. Have you received a copy of the Complaint? Have you seen that?

Oelker I have not seen the Complaint. I’ve only seen an initial document saying we are in court
       today.

Judge Okay. So, um,

Oelker I’d like to make motion for full discovery absolutely. Mr. Clark said to get everything done
       so I can save money.

Judge Today is, um, the day first day - your initial appearance - so that is going to be stuff that
      you’re going to be working on with your attorney at a future date.



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Oelker No, I’m going to be representing myself today.

Judge Okay.

Oelker Since we are here and he said that I can save money.

Judge Right.

Oelker And since we have all the information in evidence on hand.

Judge I am telling you right now that discovery doesn’t - I’m just advising you of your rights. I’m
      going to set bail. I’m going to decide whether or, if you will be released. I’m going to issue
      a No Contact Order and I’m going to set further proceedings. That’s what’s going to happen
      today.

Oelker Well that’s what we should do is just skip the charges and go straight to an open dialogue No
       Contact Order conference where we can actually talk with Vivian and get her to express what
       she’s going through on medication.

Judge No, I’m going to issue a No Contact Order where you’re not going to get to talk to her at all.

Oelker Well, if we have an open conference where we can talk to you.

Judge No.

Oelker That’s what we should be doing. He’s just being greedy trying to get another charge on me.
       Mr. Clark said this is going to get dismissed. Vivian has a history of incriminating herself
       from the last hearing, I’d like to remind you.

Judge Okay, let’s just

Oelker It’s the same thing. It’s just a repeat thing. She is going to go in there and impeach herself.

Judge You got to just let me get through this process okay. You got to let me get through this.

Oelker Okay.

Judge Alright.

Oelker I’m just confused - your doing a couple different questions here.

Judge Yeah. Um, so this is - there are two charges. The first is domestic battery under 18-
      918(3)(b) and the second is resisting an obstructing an officer under 18-705.

Oelker Now are we here to bring justice for Vivian or generate revenue?



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Judge Now you don’t talk right now.

Oelker Okay

Judge Let me get this - let me talk to you about this. Under domestic battery, the possible penalty
      we got 3(b) in there.

Oelker I just don’t see why we aren’t talking, having you express to her about the medication. She
       is clearly going to tell you she’s sick. She clearly told you that last time. She has - she gets
       out of order. She didn’t harm me, nobody harmed anybody.

Judge Don’t talk anymore. I need to get through this. Up to 6 months in jail, a fine of up to $1,000,
      court costs of $182.50, domestic violence evaluation will be required and follow any
      treatment recommendations, probation up to 2 years. For the second charge, the
      resist/obstruct under 18-705, it’s misdemeanor also up to 1 year in jail, fine of up to $1,000,
      courts costs $157.50, probation up to 2 year. In addition, there is - I see a Notification of
      Subsequent Penalties for domestic violence, which you’ve also signed that indicates your
      understanding of the - that there can be incremental penalties for convictions within - second
      conviction within 1 year or 10 years of a first conviction. And that’s just to notify you if you
      were to have a conviction what would happen if there would be a second one. Alright, this
      is a first convic - first charge today. A first time d.v. charge today under 18-90 or 18-918.
      Okay, do you understand that?

Oelker I’m completely innocent of both charges Your Honor.

Judge Okay, so that’s what I’m going to do is I’m going to enter a Not Guilty Plea on your behalf
      today and you indicate that you are going to retain your own attorney. You’ve already been
      in touch with Tom Clark.

Oelker Yes.

Judge Okay. And so you would like to - you said you don’t want to get a continuance but actually
      you want a continuance in order to get discovery you had said right? You need

Oelker I mean, I don’t see why we can’t do discovery today. There’s not much there for evidence.

Judge Yes, but that’s just not the way the process works.

Oelker I know you’re not going to give me the discs in my cell, but as far as having it ready when
       Tom comes to bail me out, then at least we can go straight to a conference at that moment
       and save more money there. You got to understand all this money, I’m her trustee. And I’ve
       explained this to you Mr. Pall who is maliciously prosecuting me - this will be the third time
       now. Okay. All we are doing is depleting her resources. What do you want from her? Do
       you want her to pack up and move away?




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Judge Anything you say is not going to have any effect on me today. Okay. You are not, it’s not
      me you need to convince.

Oelker Well you’re the Judge.

Judge So anything - uh, I’m not the decision-maker in this case. Certainly not going to be the
      decision maker at this hearing.

Oelker You have the right to administratively dismiss a case if the evidence don’t meet the criteria
       of a crime.

Judge So what we are going to do is we are going to talk about conditions of bail or release and
      then there is a request for a No Contact Order so let me ask Mr. Pall what the State’s position
      is with regard to bail or release.

Pall   The State is requesting the bond be set at $15,000. Asking that a No Contact Order be issued
       and that be made as condition of any release and then I believe just your standard conditions
       beyond that.

Judge Okay. Alright. And those conditions would be have no new felony or misdemeanor charges,
      appear in court, stay in contact with an attorney, do not appear in Court with drugs in your
      system, do not operate motor vehicle without valid insurance and a license, and comply with
      the conditions of a No Contact Order, and no disorderly or violent behavior in the courtroom.
      Is that correct Mr. Pall?

Pall   Yes Your Honor.

Judge Okay. I apologize if you can’t hear me very well. I’m trying to speak up, but I have a mask
      on so sometimes I think it muffles the sound. Okay. So let me ask you Mr. Oelker what your
      position is with regard to conditions of bail or release.

Oelker Well one thing I appreciate is he didn’t go on and on about all these false accusations that
       were erased from my record years ago. That was nice that we didn’t have to hear that again.
       The reality is I am supporting Vivian. She’s having medical problems. I’m supposed to be
       taking her to the doctors. Supposed to be getting her teeth done. We are still doing a vicious
       circle with you guys. I don’t agree to a Contact Order at all because the reality is I want you
       to bring her in here and lets talk with her. She wants to hear you. She wants to hear a good
       adult like him and her. She needs - she doesn’t have any kind of company. This COVID-19
       thing is killing her. Okay I’ve been on the road chasing down minerals for the government
       and she’s at home just suffering. So she blows up on me.

Judge Mr. Pall have you, um,

Oelker She needs me to be home Mr. Pall. I would do anything for you guys.

Judge Obviously Ms. Baxter is not here but has she been in contact with you. Have you had contact

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       with Ms. Baxter.

Pall   We have not spoken directly. I have spoken with the officers who responded yesterday. At
       that point, there was indication that she did want a No Contact Order.

Judge Okay and I have reviewed the Probable Cause Affidavit which indicates that that was

Oelker Well I would ask that we follow up with her and she if she wants to go through with it.
       Because we know last time and these were heinous charges with far more

Judge Okay.

Oelker probable evidence on his side and this is nothing like that.

Judge This is not the time for that Mr. Oelker. This is not the time to plead your case. I understand
      what you are saying.

Oelker I’m not just pleading my case, I’m pleading process.

Judge I know. I know. And so

Oelker She shouldn’t be having a restraining order unless she wants one. She’s done this before.

Judge I am going to, based on the Probable Cause Affidavit that I reviewed and also on the
      recommendation of the State, set the bail at $15,000

Oelker And the bail thing, I didn’t even get a chance to respond about that.

Judge Well, okay, go ahead.

Oelker Okay, I haven’t been working as much. We don’t have $15,000 to put on the line. I mean
       $5,000-$7,000 for a misdemeanor is fine, but $15 - he just doing it to the point where I can’t
       even, just breaking her. It’s all coming out of her money.

Judge Okay

Oelker I’m her trustee.

Judge You were able to post bond last time, is that correct?

Oelker Well, yeah, that was before COVID-19 and almost WWIII we are heading into.

Judge How much are you brining in right now?

Oelker Not much, $1,500 a month at most. Everything I’m spending on the Government to get our
       minerals for our rockets.

                                                 -5-
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Judge Are you working right now?

Oelker I’m actually spending my money getting the minerals so we can get the rockets going.

Judge But are you trucking or are you still doing trucking?

Oelker I can be trucking, but they are not going to let me truck with an open charge. As soon as
       they, they are going to ask me do you have any pending cases and I’m going to have to tell
       them the truth. They are going to say no trucking.

Judge So how much money do you have in the bank right now?

Oelker Not much. Not considering it’s all supposed to go to her dental again. We never got her to
       dental. The COVID-19 thing came and we just sat at home.

Judge How much money do you have in the bank? You didn’t answer my question.

Oelker $10,000.

Judge Okay. Then I’m going to leave it at $15,000.

Oelker And that doesn’t leave me with money to get back to a job, transportation. You are telling
       me you want me to house away from my house of residence again.

Judge So, um, what you are telling me is that you have $10,000 in the bank.

Oelker And I have to pay a retainer and I have to have money to survive until we can go to a trial
       where she impeaches herself. She’s going to impeach herself. She’s broken the law and
       he’s, Mr. Clark asked me to remind you

Judge It’s certainly not helping you.

Oelker Well he told me to remind you.

Judge Certainly not.

Oelker It is going to get dismissed.

Judge Yeah, yeah, I’m sure he did. Okay so I’m going to set the

Oelker He really did.

Judge bond at $10,000 given, in light of the information

Oelker So now I don’t have retainer money.



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Judge and, um, certainly

Oelker She makes her decision and we don’t get anywhere.

Judge let me make sure. I’m looking for, but I think I accidentally put it back in the wrong place,

Oelker I would like to remind you that I’ve always gone to every one of these hearings that you guys
       prescribe. From the driving under suspension charge that was dismissed to this felonious
       charge that I strangled somebody charge - I went to every hearing. I’ve suffered everything
       this County has thrown at me and I’ve always shown up nobly to stand forth. I don’t see why
       I’m being done like this. We need to get Vivian help. This should be about her. I’m willing
       to tell you anything you want to know and if you ask her the questions, you’re going to see
       I’m the one being battered. I’m willingly being battered Mr. Pall. I love Vivian. She’s my
       best friend. Nobody’s ever loved me more than her. I would never hurt her. I’ve tried to
       protect her. If she was in a nursing home with this COVID thing, she would be dead.

Judge Alright, so I’m, uh,

Oelker I’m completely noble.

Judge I’m going to set the bail at $10,000. You’ll be able to talk to a bail bondsman about it and
      if you want your attorney to ask for less bail, then he can do that.

Oelker He wants to get me out of here today.

Judge At this time, based on your representations regarding wanting to have contact and not
      wanting a No Contact Order that’s part of the reason I’m not going to O.R. you today. I’m
      going to set a No Contact Order to be in place for a year with the opportunity to - for that to
      be modified or otherwise changed at a later date.

Oelker I’m sure once she finds out

Judge You are not allowed to talk to her about it.

Oelker I can see her

Judge You are not allowed to

Oelker I’m not going to, but unfortunately we share family. They don’t want any of this to go on.

Judge Okay.

Jailer Jeromy, I’ve asked nicely numerous times

Oelker I can’t see her. I told you it’s hard for me to - cause



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Judge Just don’t talk anymore. Okay, don’t talk. Not this running dialogue. All you’re doing is
      hurting yourself okay - don’t, you were going to respond. What did I just say, don’t talk.
      Alright so you are not to have contact, either personally or through another person, that
      includes any relatives, in any manner. In writing, through electronic means, through
      telephone, email, text, social networking or facsimile. Do not harass, stalk, threaten, use,
      attempt to use, or threaten to use of physical force, engage in any other contact that would
      place her in reasonable fear of injury. Do not knowingly remain within 300' of her. However,
      you may attend court proceedings involving her and communicate with your attorney about
      legal issues involving her. Do know knowingly go within, or remaining within, 300' of your
      residence in Craigmont. And, in addition, the only exception would be an officer assist to
      remove belongings necessary for employment or for where ever you are going to be staying.
      You will not be able to do that without an officer assisting.

Oelker May I ask a question?

Judge A violation of this order is a separate crime under Idaho Code § 18-920 for which no bail
      will be set until you appear before a judge. The maximum penalty is one year in jail or
      $1,000 fine. And only a Judge can modify this No Contact Order.

Oelker May I ask a question?

Judge Yes.

Oelker Okay, last time when they did this they only gave me a few minutes to get my stuff. Okay,
       pretty much I’m moving out. I was already moving out.

Judge You will not be able to move out.

Oelker Okay. That point I’m trying to say

Judge You will be given 15 minutes

Oelker Okay, I have to get a trailer from U-haul to grab my mining equipment.

Judge Nope

Oelker To go back to work.

Judge Nope.

Oelker I work from home, that was the Governor’s orders. So I have to take my work out of the
       house to go work.

Judge Well you don’t

Oelker How are we going to do that? I only need to get my truck today.

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Judge You don’t necessarily have to do that, you talk to your attorney about it.

Oelker He told me to bring it up now because he knows I can’t go anywhere without my equipment.

Judge Arrangements can be made where somebody else gets that out of the house for you, instead
      of you doing it, okay.

Oelker It’s all by the back door. Just like they did last time. There’s nothing that will take more
       than 15 minutes, but I do need to pick up my truck and go get the trailer and then return with
       the trailer.

Judge Sure. I thinks that’s doable.

Oelker It can all happen in 15 minutes.

Judge That’s totally doable.

Oelker Okay so how do we make sure they have the information they need so there’s no hiccups
       when I get out, I’m going to get my truck, I’m going to go to Lewiston for the night, grab a
       u-haul trailer in the morning and I would like to pick up my things at a convenient time

Jailer I will give you a business card, you can all us.

Judge Yep.

Oelker Is that all appropriate then.

Judge Uh-huh.

Oelker That’s all I wanted to clarify.

Judge We want you working through them which it’s also going to be a problem for you if you
      report - or if somebody else reports something happening when they don’t know about it, it’s
      going to bad. You’ll end up back here.

Oelker Last time this happened, they would not let me contact you to get permission.

Judge You are not allowed to contact me.

Oelker Okay. Well the point I’m trying to make is that what they said. We got to work that out with
       the Judge.

Judge Yep. Exactly.

Oelker So I want this in stone that I can get to my truck today and then go get a trailer and return
       tomorrow and get my equipment. Everything is on the floor in the garage.

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Judge Officer assist. 15 minutes. Yeah, it sounds like you can get it.

Oelker So do we need a memo or proof of this. How are we going to

Judge They are in here - they’re hearing me.

Oelker You are going to be working the weekend.
Jailer We can discuss it

Judge Okay. Alright. Very important because according to the probable cause affidavit she, Vivian
      is very alarmed and afraid so you need to follow that No Contact Order. She doesn’t want
      you to be around her right now. So if I find out that you are around her and you violate this
      Order

Oelker I would never do that, I don’t need to be here.

Judge the bond will increase.

Oelker I’m only here to take her to the doctor.

Judge substantially. You are not here to do anything for her right now.

Oelker What I mean was prior to this thing.

Judge Yeah.

Oelker I’m only kept taking a break from work to take her. She was just having a heat problem

Judge I’m just telling you I believe what, I believe what she is telling the officers because they
      dragged it out of her. And they’ve always had to drag it out of her. Okay, Mr. Oelker so let’s
      just do this the way its supposed to happen okay. Let’s just process this piece the way it’s
      supposed to happen. You can present your side and the State can present theirs. And she
      doesn’t want you around her

Oelker Again, Vivian is going to testify

Judge right now.

Oelker I understand. I don’t need to break a restraining order (female tell him to stop talking) - I
       want her to feel confident that I’m agreeable. (Jeromy, let her finish)

Judge Alright. So we are going to set this for an initial appearance - sorry a pretrial conference and
      we are going to set it, Mr. Oelker you are in the area, you are not traveling right now, is that
      correct?

Oelker Well, yeah, I’m homeless.

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Judge Okay.

Oelker You are putting me on the street again. I have to go find lodging and a place to work (let her
       finish)

Judge So, we are going to set this for June 16th does that work for you Mr. Pall.

Pall   That should be fine Your Honor.

Judge I’m going to set it for 2:00 p.m. Of course, if Mr. Clark becomes involved, we may be
      moving that but

Oelker That will be the goal. And my other question is do I have to appear since it’s a misdemeanor
       hearing if I have representation.

Judge You have to - you have to appear at every hearing.

Oelker Even with an attorney?

Judge Um, absolutely.

Oelker He told me with felonies you couldn’t. He didn’t clarify misdemeanors. Mr. Clark told me
       that last time.

Judge Oh, um, in this - I live to have people at the pretrial conferences unless there is a reason why
      you can’t attend you need to go through your attorney for that. Okay

Oelker Well

Judge You have to request special permission not to be there.

Oelker So it is something you would work with if he presented it properly.

Judge That’s correct and he always does. Mr. Clark always does. Um, any other questions.

Oelker Well, again, I’d like to get that Arnzen video

Judge About how things are going to go.

Oelker Do your deputies often have hiccups when they are transferring the data off their cameras.

Judge Okay. So that’s discovery.

Oelker Is that something you’ve experienced?




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Judge The question I meant was about what happens next. No questions about what happen next.
      Okay. Alright. Then we’ll be in recess.

Track 2
Oelker Here we go again, same thing. We are not getting her help. All they are trying to do is
       procure her as a domestic violence victim. She’s got a medical problem.

End




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(2) The redaction requirement does not apply to documents that are exempt from public disclosure
pursuant to Idaho Court Administrative Rule 32.

(3) The redaction requirement of an individual's date of birth does not apply to the defendant's date of
birth on documents in criminal cases.

(4) The redaction requirement of a minor’s full name does not apply to documents related to a name
change for the minor.


(d) Options when personal data identifiers are necessary. A party filing a redacted document
need not also file an unredacted version of the document; however, where inclusion of the unredacted
personal data identifiers is required by the court, by statute or court rule, or is material to the
proceedings in a document that is open to the public the party must choose the most appropriate option
below:

(1) File the redacted document together with a reference list that identifies each item of redacted
information and specifies an appropriate identifier that uniquely corresponds to each item listed. The list
must be clearly identified as a reference list filed pursuant to this rule and may be amended as of right.
Any reference in the action to a listed identifier will be construed to refer to the corresponding item of
information. The reference list is exempt from public disclosure pursuant to Idaho Court Administrative
Rule 32; however, courts will share the reference list with other government agencies as required or
allowed by law without court order or application for purposes of the business of those agencies.

(2) File the redacted document together with an unredacted copy of the document. The unredacted
copy must be clearly identified as an unredacted copy filed pursuant to this rule. The unredacted copy is
exempt from public disclosure pursuant to Idaho Court Administrative Rule 32; however, courts will
share the unredacted copy with other government agencies as required or allowed by law without court
order or application for purposes of the business of those agencies.


Regardless of which option is selected, the filer must file the exempt from public disclosure document in
compliance with Rule 6(b)(2)(B).

(e) Unredacted document inadvertently submitted. If an unredacted document is inadvertently
submitted without a reference list or redacted copy, then the filer must submit a redacted copy as soon
as possible. In the “Comments to Court” the filer must identify the original unredacted document, the
date it was submitted, and request that the original unredacted document be marked as exempt from
disclosure.

(f) Parties to use caution. Parties should exercise caution when filing papers that contain private or
confidential information, including, but not limited to, the information covered above and listed below:

(1) Medical records, treatment and diagnosis;

(2) Employment history;

(3) Individual financial information;

(4) Insurance information;

(5) Proprietary or trade secret information;

(6) Information regarding an individual’s cooperation with the government; and
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           Exhibit X-4
A Citation is used for offences in which are Petty. See Federal Criminal
Rule 58. Also a Citation does not suffice as a charging document
because it does not clearly state the elements of the crime without
violating the Double Jeopardy Clause. Also the Criminal Information
must be ascribed by the prosecuting Attorney.
Without any Information, there lies no Elements. Under United States v. Du Bo, 186 F.3d 1177
(9th Cir. 1999), an indictment missing an essential element challenged before trial must be
dismissed regardless of whether the omission prejudiced the defendant.

19-1303. STATEMENT OF OFFENSE CHARGED. The offense charged in all informations
shall be stated with the same fullness and precision in matters of substance as is required in
indictments in like cases, and in all cases defendant or defendants shall have the same rights as to
proceedings therein as he or they would have if prosecuted for the same offense upon indictment.

“Undoubtedly, the language of the statute may be used in the general description of an offense,
but it must be accompanied with such a statement of the facts and circumstances as will inform
the accused of the specific offense, coming under the general description, with which he is
charged.” United States v. Hess, 124 U. S. 483, 124 U. S. 487. See also Pettibone v. United
States, 148 U. S. 197, 148 U. S. 202-204; Blitz v. United States, 153 U. S. 308. “The elements of
the crime have to be ascertained, it is not sufficient to set forth the offence in the words of the
statute.” United States v. Carill 105 U.S. 611 (1882).

The general rule that allegations and proof must correspond is based upon the obvious
requirements (1) that the accused shall be definitely informed as to the charges against him, so
that he may be enabled to present his defense and not be taken by surprise by the evidence
offered at the trial; and (2) that he may be protected against another prosecution for the same
offense. Bennett v. United States, 227 U. S. 333, 227 U. S. 338; Harrison v. United States, 200 F.
662, 673; United States v. Wills, 36 F.2d 855, 856, 857. Cf. Hagner v. United States, 285 U. S.
427, 285 U. S. 431-433.

19-1302. Filing and endorsement of information. All informations shall be filed in the court
having jurisdiction of the offense specified therein by the prosecuting attorney as informant to
which he shall subscribe his name.
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       Exhibit X-5
Darla Wilkins email is the greatest piece of evidence to prove
complacency and fraud.
  1) No Criminal Information was ever filed.
  2) The hearing Audio came from the Prosecutor.
  3) The Probable Cause Affidavit was only ONE page.
The original Email was forwarded to the Idaho Federal District Court
under SEAL. (see PACER)
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          RE: BAR ASSOCIATION

                    Darla Wilkins£<darla@clarkandfeeney.com>                                                                                     Oct 13 at 10:15
                    To: j.oelker@yahoo.com                                                                                                          Print Raw m



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           PDF      448kB   PDF        83kB     PDF   183kB   PDF        81kB




          Citation Filed… Court Record… TRANSCRIPT … Transcript of …
          Download          Download           Download       Download



          *I do not have a copy of a “Complaint”. However, attached is the Citation that was issued to you (and you sign
          before we appeared in the case. I also did not have this in the file, but all one has to do is email the Clerk of th
          Court and request a copy of it. You also are able to contact the Court Clerk at 208-937-2251 to obtain copies o
          any documents you do not have for some reason. Attached is a list of all the pleadings the Court has of record
          your case that I printed this morning. The Court can email them to you directly as well.

          *I have provided you with the transcripts previously. I’ll attach them again. You should save them on your
          computer.

          *I copied the recordings exactly how I received them and forwarded them to you previously by email on June
          19th. I then mailed all the recording to you on a CD on July 9th. If you are not able to open them, then you sh
          contact the Lewis County Prosecutor’s office as I no longer have them available to me as I sent them to you in
          format received by us.


          From: j.oelker@yahoo.com <j.oelker@yahoo.com>
          Sent: Friday, October 9, 2020 8:53 AM
          To: Darla Wilkins <darla@clarkandfeeney.com>



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          TO WHOM IT MAY CONCERN,

          I STILL HAVE NOT RECEIVED THE COMPLAINT BY THE STATE, PLEASE SEND IT TO MY EMAIL, I ALSO NEED THE TRANSCRIPT RECORDINGS, THE DISC YOU SENT HAD
          FILES WHICH ARE NOT THE PROPER FORMAT FOR VIEWING.

          THE BAR ASSOCIATION ASKED ME TO TRY ONE MORE TIME BEFORE OUR NEXT MEETING IN BOISE.

          JEROMY OELKER




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      Exhibit X-10
Without Criminal Information myriad Statutes and Idaho Criminal Rules
of Procedure were violated in “Excess of Jurisdiction”:

Idaho Statute 19-1302. Filing and endorsement of information.
Idaho Statute 19-102. PROSECUTION BY INDICTMENT OR INFORMATION.
Idaho Statute 19-1303. STATEMENT OF OFFENSE CHARGED.
Idaho Statute 18-7907. ACTION FOR PROTECTION.
Idaho Criminal Rule 3. Complaint; Initiation and Prosecution.
Idaho Criminal Rule 4. Determination of Probable Cause.
Idaho Criminal Rule 7(f). Indictment and Information.
Idaho Criminal Rule 10. Arraignment on Indictment or Information.


This is not all rights violated, but enough to reflect the Violation to the
Law of the Land of Idaho, the denial of Equal Protection, and a Void
Judgment.
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                                                         Idaho Statutes

                       Idaho Statutes are updated to the website July 1 following the legislative session.
                                               TITLE 19
                                          CRIMINAL PROCEDURE
                                              CHAPTER 13
                                 INFORMATION AND PROCEEDINGS THEREON
      19-1302. FILING AND ENDORSEMENT OF INFORMATION. All informations shall be filed in the court
having jurisdiction of the offense specified therein by the prosecuting attorney as informant to
which he shall subscribe his name.
History:
      [(19-1302) 1890-1891, p. 184, sec. 2; reen. 1899, p. 125, sec. 2; am. R.C., sec. 7656; am.
1913, ch. 41, p. 144; am. 1915, ch. 68, sec. 1, p. 176; reen. C.L., sec. 7656; C.S., sec. 8810;
I.C.A., 19-1202; am. 1989, ch. 343, sec. 1, p. 867.]


How current is this law?
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                                                         Idaho Statutes

                       Idaho Statutes are updated to the website July 1 following the legislative session.
                                                TITLE 19
                                          CRIMINAL PROCEDURE
                                               CHAPTER 1
                                        PRELIMINARY PROVISIONS
      19-102.   PROSECUTION BY INDICTMENT OR INFORMATION — EXCEPTIONS. Every public offense must be
prosecuted by indictment, or information, except:
      1. Where proceedings are had for the removal of civil officers of the state.
      2. Offenses arising in the militia when in actual service, and in the land and naval forces in
time of war, or which this state may keep, with the consent of congress, in time of peace.
      3. Offenses tried in justices, and probate courts.
History:
      [(19-102) Cr. Prac. 1864, sec. 6, p. 214; R.S., sec. 7351; am. 1899, p. 125; reen. R.C. & C.L.,
sec. 7351; C.S., sec. 8617; I.C.A., sec. 19-102.]


How current is this law?
                           Case 2:23-cv-01490-APG-DJA Document 32 Filed 01/30/24 Page 48 of 68




                                                         Idaho Statutes

                       Idaho Statutes are updated to the website July 1 following the legislative session.
                                               TITLE 19
                                          CRIMINAL PROCEDURE
                                              CHAPTER 13
                                 INFORMATION AND PROCEEDINGS THEREON
      19-1303. STATEMENT OF OFFENSE CHARGED. The offense charged in all informations shall be stated
with the same fullness and precision in matters of substance as is required in indictments in like
cases, and in all cases defendant or defendants shall have the same rights as to proceedings therein
as he or they would have if prosecuted for the same offense upon indictment.
History:
      [(19-1303) 1890-1891, p. 184, sec. 3; am. 1893, p. 164, sec. 1; reen. 1899, p. 125, sec. 3;
reen. R.C. & C.L., sec. 7657; C.S., sec. 8811; I.C.A., sec. 19-1203.]


How current is this law?
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I.C.R. 3. Complaint - Initiation and Prosecution

Idaho Criminal Rule 3. Complaint; Initiation and Prosecution




The complaint is a written statement of the essential facts constituting the offense charged. It must be
made on oath before a magistrate; except that, a prosecuting attorney may sign a complaint before a
magistrate, without oath or affirmation, based on a sworn affidavit or declaration. Any affidavit or
declaration supporting an unsworn complaint must be filed with the court. Except as otherwise provided
by law or rule, all criminal proceedings must be initiated by complaint or indictment and prosecuted by
complaint, indictment or information as provided by these rules.




(Adopted February 22, 2017, effective July 1, 2017.)




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I.C.R. 4. Warrant - Summons - Determination of Probable Cause

Idaho Criminal Rule 4. Arrest Warrant; Summons; Determination of Probable Cause




(a) Issuance of Arrest Warrant. After a complaint is presented to a magistrate, (which may be in the
form of the Idaho Uniform Citation for a misdemeanor), the magistrate may issue a warrant for the
arrest of the defendant only after making a determination that there is probable cause to believe that
an offense has been committed and that the defendant committed it.




(1) In General. The finding of probable cause must be based on substantial evidence, which may be
hearsay in whole or in part, provided there is a substantial basis, considering the totality of the
circumstances, to believe probable cause exists for the warrant. The magistrate may rely on
information provided in the form of an affidavit or sworn oral statement.




(2) Warrant on an Affidavit. When a law enforcement officer or a prosecutor presents an affidavit or
declaration in support of a warrant, the magistrate may require the affiant to appear personally and
may examine under oath the affiant and any witness the affiant produces.




(3) Warrant on Sworn Oral Statement. When the magistrate bases his or her findings on a sworn oral
statement, the statement must be recorded and is considered part of the record. All sworn statements
given in support of an application for a warrant must be given on oath or affirmation and must identify
the speaker.




(4) Requesting a Warrant by Telephonic or Other Reliable Electronic Means. A magistrate may issue a
warrant based on information communicated by telephone or other reliable electronic means. The
affidavit or sworn oral statement as recorded must be filed with the clerk of the court, and transcribed
by the court upon request.




(b) Issuance of Summons. After a complaint is filed with a court, (which may be in the form of the
Idaho Uniform Citation for a misdemeanor), the magistrate, or the clerk of the court, may issue a
summons requiring the defendant to appear before the court at a time certain without first making a
determination of whether there is probable cause.




(c) Issuing Arrest Warrant or Summons, Preference for Summons. If the magistrate finds
probable cause for a complaint, in determining whether a warrant or summons should issue, the
magistrate must give preference to the issuance of a summons. In making the determination as to
whether to issue a warrant or summons, the magistrate must consider the following factors:

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                             and information
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I.C.R. 7. Indictment and information

Idaho Criminal Rule 7. Indictment and Information




(a) Use of Indictment or Information. All felony offenses must be prosecuted by indictment or
information.




(b) Nature and Contents. The indictment or information:




(1) must be a plain, concise and definite written statement of the essential facts constituting the
offense charged;




(2) need not contain a formal commencement, a formal conclusion or any other matter not necessary
to the statement;




(3) must not contain any reference to the procedural history of the action; and




(4) must state, for each count, the official or customary citation of the statute, rule or regulation or
other provision of law that the defendant is alleged to have violated, but error in the citation or its
omission is not grounds for dismissal of the indictment or information or for reversal of the conviction if
the error or omission did not mislead the defendant to the defendant's prejudice.




Allegations made in one count may be incorporated by reference in another count. A single count may
allege that the means by which the defendant committed the offense are unknown or that he
committed it by one or more specific means. The information must be signed by the prosecuting
attorney.




(c) Two-Part Indictments or Informations. In all cases in which an extended term of imprisonment
is sought because of a prior conviction or convictions, the indictment or information must state the facts
on which the extended term of imprisonment is sought. Those facts must not be read to the jury unless
the defendant has been found guilty of the primary charge. If the defendant is found guilty of the
primary charge, the issue or issues involving the extended term of imprisonment must then be tried.




(d) Surplusage. The court, on motion by either party, may strike surplusage from the indictment or
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           Case
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              7. Indictment             Document 32 Filed 01/30/24 Page 52 of 68
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information.




(e) Amendment of Information or Indictment. The court may permit amendment of a complaint,
an information or indictment at any time before the prosecution rests if no additional or different
offense is charged and if substantial rights of the defendant are not prejudiced.




(f) Filing of Information. The prosecuting attorney must file an information within 14 days after an
order has been filed by the magistrate in the district court holding the defendant to answer, unless more
time is granted by the court for good cause shown.




(Adopted February 22, 2017, effective July 1, 2017.)




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           Case
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                  Arraignment on Indictment     32 Filed 01/30/24 Page 53 of 68
                                            or Information
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I.C.R. 10. Arraignment on Indictment or Information

Idaho Criminal Rule 10. Arraignment on Indictment or Information




(a) In General. After an indictment or an information has been filed with the district court, the
defendant must be arraigned on it by the court. The defendant must appear in person at the
arraignment. The arraignment must be within 30 days after the filing of an information. If an indictment
has been filed, the arraignment must take place:




(1) within 30 days of service of the summons if a summons has been issued;




(2) within 30 days of the defendant's initial appearance in the county issuing the indictment if a warrant
has been issued following the indictment, and if the defendant is not in custody in the county in which
the indictment is filed; or




(3) within 30 days of the filing of the indictment in all other cases.




(b) Right to Counsel. If the defendant appears for arraignment without counsel, before being
arraigned, the defendant must be informed by the court that defendant has the right to have counsel
either of defendant's own selection, or if indigent, by court appointment. The defendant must be asked
if defendant desires counsel and if defendant is able to provide his own counsel. If the defendant desires
counsel and is found to be indigent as defined by Idaho Code § 19-854, the court must appoint counsel
to represent the defendant. No proceedings may take place before the appointment of counsel or until
the defendant has had a reasonable period of time to obtain counsel unless the defendant waives the
right to counsel.




(c) Arraignment. Arraignment must be conducted in open court and consist of reading the indictment
or information to the defendant or stating to the defendant the substance of the charge and requiring
the defendant to plead to it. The defendant may waive the reading of the indictment or information. The
defendant must be given a copy of the indictment or information before the defendant is required to
plead. The defendant must be informed that if the name that appears on the indictment or information
is not defendant's true name, the defendant must then state defendant's true name or be proceeded
against by the name in the indictment or information. If, on the arraignment, the defendant requires
time to enter a plea, the defendant must be allowed a reasonable time, not less than one day, in which
to answer the indictment or information.




(d) Method of Securing Defendant's Appearance.

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     Exhibit X-11
Aside from the fact the Lewis County Court never acquired Plenary
Power without a signed Information, also notice that no protection order
hearing was scheduled in accordance with Idaho Statute 18-7907(3).
The Arraignment occurred on May 29th, 2020. The Protection Order
Hearing should have been held by June 12th, 2020.
      Case 2:23-cv-01490-APG-DJA Document 32 Filed 01/30/24 Page 55 of 68




                                     Idaho Statutes

   Idaho Statutes are updated to the website July 1 following the legislative session.
                                  TITLE 18
                           CRIMES AND PUNISHMENTS
                                 CHAPTER 79
                            MALICIOUS HARASSMENT
    18-7907. ACTION FOR PROTECTION. (1) There shall exist an action known
as a "petition for a protection order" in cases where a person
intentionally engages in the following conduct:
    (a)   Stalks, in any degree, as described in sections 18-7905 and 18-
    7906, Idaho Code;
    (b)    Telephones another with the intent to terrify, threaten, or
    intimidate such other person and addresses to such other person any
    threat to inflict injury or physical harm to the person addressed or
    any member of his family and engages in such conduct with any device
    that provides transmission of messages, signals, facsimiles, video
    images, or other communication by means of telephone, telegraph,
    cable, wire, or the projection of energy without physical connection
    between persons who are physically separated from each other; or
    (c)   Based upon another person’s race, color, religion, ancestry, or
    national origin, intimidates or harasses another person or causes, or
    threatens to cause, physical injury to another person or damage to any
    real or personal property of another person.
    (2)    A person may seek relief from such conduct for himself, his
children or his ward by filing a verified petition for a protection order
with the magistrate division of the district court, alleging specific facts
that a person for whom protection is sought was the victim of such conduct
within the ninety (90) days immediately preceding the filing of the
petition and that such conduct is likely to occur in the future. Evidence
of such conduct occurring prior to such ninety (90) day period may be
admissible to show that conduct committed within the ninety (90) day period
is part of a course or pattern of conduct as described in subsection (1) of
this section and may be admissible as otherwise permitted in accordance
with court rule and decisional law.
    (3)   Upon the filing of a verified petition for a protection order,
the court shall hold a hearing within fourteen (14) days to determine
whether the relief sought shall be granted unless the court determines that
the petition fails to state sufficient facts to warrant relief authorized
by this section. If either party is represented by counsel at such hearing,
the court shall grant a request for a continuance of the proceedings so
that counsel may be obtained by the other party. Such order may require
either the petitioner or respondent, or both, to pay for costs, including
reasonable attorney’s fees.
    (4)   Upon a showing by a preponderance of the evidence that a person
for whom protection is sought in the petition was the victim of conduct
committed by the respondent that constitutes conduct as described in
subsection (1) of this section, within ninety (90) days immediately
preceding the filing of the petition, and that such conduct is likely to
Case 2:23-cv-01490-APG-DJA Document 32 Filed 01/30/24 Page 56 of 68
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Case Information

CR31-20-0097 | State of Idaho Plaintiff, vs. Jeromy J Oelker Defendant.

Case Number                                Court                            Judicial Officer
CR31-20-0097                               Lewis County Magistrate Court    Nolta, Paige
File Date                                  Case Type                        Case Status
05/29/2020                                 Criminal                         Inactive Pending - (Warrant/Det
                                                                            Order)




Party

State                                                                       Active Attorneys 
State of Idaho                                                              Lead Attorney
                                                                            Pall, Zachary Aaron




Defendant                                                                   Inactive Attorneys 
Oelker, Jeromy J                                                            Attorney
DOB                                                                         Clark, Paul Thomas
                                                                            Retained
XX/XX/1980



                                                                            Lead Attorney
                                                                            Clark, Paul Thomas
                                                                            Retained




Charge

Charges
Oelker, Jeromy J


             Description                            Citation      Statute        Level             Date
        Case 2:23-cv-01490-APG-DJA Document 32 Filed 01/30/24 Page 59 of 68
    1      Battery-Domestic Violence             17297    I18-918(3)(b) {M}   Misdemeanor    05/28/2020
           Without Traumatic Injury Against
           a Household Member

    2      Arrests & Seizures-Resisting or       17297    I18-705             Misdemeanor    05/28/2020
           Obstructing Officers




Bond Settings


     Setting Date

     5/29/2020

     8/6/2020




Bond


    Bond Type               Bond Number            Bond Amount         Current Bond Status

    Cash Bond                                      $10,000.00          Notice of Bond Forfeiture




Events and Hearings


 05/29/2020 Arraignment 


 Judicial Officer
 Olds, Victoria

 Hearing Time
 10:45 AM

 Result
 Hearing Held

 Parties Present 
  State: State of Idaho

     Prosecuting Attorney: Pall, Zachary Aaron

   Defendant: Oelker, Jeromy J


 05/29/2020 New Case - Criminal
       Case 2:23-cv-01490-APG-DJA Document 32 Filed 01/30/24 Page 60 of 68
05/29/2020 Citation Filed


05/29/2020 Affidavit of Probable Cause


05/29/2020 Notification of Rights


05/29/2020 Probable Cause Order


05/29/2020 Conditions of Bail or Release 


  Judicial Officer
  Olds, Victoria


05/29/2020 Notification of Subsequent/Enhanced Penalties


05/29/2020 No Contact Order 


  Judicial Officer
  Olds, Victoria


05/29/2020 Court Minutes


05/29/2020 Notice of Remote Hearing


06/01/2020 Notice of Appearance


06/01/2020 Request for Discovery and Inspection


06/01/2020 Bond Posted - Cash


06/04/2020 Stipulation to Continue 


  Comment
  Pretrial Conference


06/04/2020 Order to Continue


06/08/2020 Notice of Remote Hearing


06/08/2020 Response to Request for Discovery 


  Comment
  response to discovery (3)


06/08/2020 Request for Discovery 


  Comment
  request for discovery (5)


06/16/2020 Pre-trial Conference 
       Case 2:23-cv-01490-APG-DJA Document 32 Filed 01/30/24 Page 61 of 68
Judicial Officer
Olds, Victoria

Hearing Time
02:00 PM

Cancel Reason
Vacated


06/17/2020 Supplemental Response to Request for Discovery 


   Comment
   supplemental response oelker


06/23/2020 Motion to Dismiss


06/23/2020 Memorandum In Support of Motion 


   Comment
   to Dismiss


06/29/2020 Application 


   Comment
   For Termination of Protection Order


06/30/2020 Pre-trial Conference 


Judicial Officer
Olds, Victoria

Hearing Time
11:00 AM

Result
Hearing Held

Parties Present 
 State: State of Idaho

    Prosecuting Attorney: Pall, Zachary Aaron

  Defendant: Oelker, Jeromy J


06/30/2020 Court Minutes


06/30/2020 Subpoena Issued 


   Comment
   subpoena Arnzen (3)


07/01/2020 Subpoena Returned 


   Comment
   Arnzen
       Case 2:23-cv-01490-APG-DJA Document 32 Filed 01/30/24 Page 62 of 68
07/02/2020 Motion to Withdraw


07/02/2020 Affidavit in Support of Motion 


   Comment
   to Withdraw as Attorney


07/02/2020 Notice of Hearing


07/07/2020 Motion Hearing 


Judicial Officer
Olds, Victoria

Hearing Time
03:30 PM

Result
Hearing Held

Parties Present 
 State: State of Idaho

    Prosecuting Attorney: Pall, Zachary Aaron

  Defendant: Oelker, Jeromy J


07/07/2020 Court Minutes


07/08/2020 Order Granting Leave to Withdraw as Atty of Record 


   Judicial Officer
   Olds, Victoria


07/08/2020 Order on Motion to Modify or Dismiss No Contact Order 


   Judicial Officer              Comment
   Olds, Victoria                Denying Without Prejudice



07/08/2020 Order on Motion 


   Judicial Officer              Comment
   Olds, Victoria                Denying Motion to Dismiss



07/08/2020 Order for Pretrial & Notice of Trial Setting 


   Judicial Officer
   Olds, Victoria


08/04/2020 Pre Trial 
       Case 2:23-cv-01490-APG-DJA Document 32 Filed 01/30/24 Page 63 of 68
Judicial Officer
Olds, Victoria

Hearing Time
03:00 PM

Result
Hearing Held

Parties Present 
 State: State of Idaho

    Prosecuting Attorney: Pall, Zachary Aaron


08/05/2020 Court Minutes


08/06/2020 Warrant/Det Order Issued - Bench


08/17/2020 Notice 


   Comment
   of removal of action under 28 U.S.C. Federal Question


08/17/2020 Notice of Forfeiture of Cash Bail


08/31/2020 Motion to Quash Warrant


09/30/2020 Motion to Quash Warrant


09/30/2020 Order 


   Comment
   Denying Motion to Quash Warrant


10/06/2020 Pre-trial Conference 


Judicial Officer
Olds, Victoria

Hearing Time
03:30 PM

Result
Hearing Held

Comment
FINAL

Parties Present 
 State: State of Idaho

    Prosecuting Attorney: Pall, Zachary Aaron


10/06/2020 Court Minutes


10/07/2020 Order 
       Case 2:23-cv-01490-APG-DJA Document 32 Filed 01/30/24 Page 64 of 68
   Judicial Officer             Comment
   Olds, Victoria               To Vacate Jury Trial



10/22/2020 Notice 


   Comment
   Of Removal of Action Under 28 U.S.C 1443


10/22/2020 Memorandum 


   Comment
   Memorandum Decision and Order from United States District Court


10/23/2020 Motion 


   Comment
   For Supplemental Discovery


10/23/2020 Motion 


   Comment
   To Vacate Bench Warrant and Bail Forfeiture


10/27/2020 Motion 


   Comment
   For Supplemental Discovery


11/05/2020 Jury Trial 


Judicial Officer
Olds, Victoria

Hearing Time
9:00 AM

Cancel Reason
Vacated


12/09/2020 Order 


   Judicial Officer
   Olds, Victoria


01/19/2021 Motion Hearing 


Judicial Officer
Olds, Victoria

Hearing Time
03:30 PM
       Case 2:23-cv-01490-APG-DJA Document 32 Filed 01/30/24 Page 65 of 68
Cancel Reason
Vacated


01/19/2021 Decision or Opinion 


   Judicial Officer              Comment
   Nye, David C.                 and Order



01/19/2021 Judgment 


   Judicial Officer
   Nye, David C.


01/20/2021 Request for Production of Documents 


   Comment
   Failure to Prosecute


05/17/2021 Motion to Modify or Dismiss No Contact Order


05/17/2021 Order to Continue 


   Judicial Officer
   Olds, Victoria


05/26/2021 Letter 


   Comment
   letter


05/27/2021 Motion to Continue 


Original Type
Motion to Continue

Judicial Officer
Olds, Victoria

Hearing Time
02:30 PM

Result
Hearing Held

Comment
NCO


05/27/2021 Court Minutes


05/27/2021 No Contact Order 
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     Judicial Officer             Comment
     Olds, Victoria               Amended - Extended



  06/09/2021 Affidavit / Return of Service 


     Comment
     Not Found - Jeromy Oelker


  06/09/2021 Affidavit / Return of Service 


     Comment
     Vivian Baxter




Financial

No financial information exists for this case.
    Case 2:23-cv-01490-APG-DJA Document 32 Filed 01/30/24 Page 67 of 68




              Exhibit L
Notice Juanita Kirkland states no probable cause Affidavit was filed in
the previous 2017 case either. This Exhibit is subject to Continual Harm,
but also reflects the fact that the Lewis County Court exceeds their
jurisdiction routinely.
1/11/24, 4:09 PM                     Case 2:23-cv-01490-APG-DJA
                                                         Yahoo Mail - RE:Document       32 Cause
                                                                          2016-706/ Probable FiledAffidavit
                                                                                                    01/30/24          PageOelker
                                                                                                            missing/ Jeromy 68 of 68


     RE: 2016-706/ Probable Cause Affidavit missing/ Jeromy Oelker

     From: Juanita Kirkland (jkirkland@lewiscountyid.org)

     To:      oelkerj@yahoo.com

     Date: Thursday, January 11, 2024 at 04:09 PM PST



     There is not a PC affidavit in this case.


       From: jeromy oelker <oelkerj@yahoo.com>
       Sent: Monday, January 8, 2024 12:56 PM
       To: Juanita Kirkland <JKirkland@LewisCountyID.Org>
       Subject: 2016-706/ Probable Cause Affidavit missing/ Jeromy Oelker




       Ms. Kirkland,



       I need the Probable Cause Affidavit for case 2016-706.



       Thank you,



       Jeromy Oelker



       On Wednesday, December 27, 2023 at 11:53:29 AM PST, Juanita Kirkland <jkirkland@lewiscountyid.org> wrote:




       There is no page 1 in the file. It would be my assumption it would have been a fax cover sheet.


about:blank                                                                                                                            1/3
